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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA


EVELYN CINTRON,                              :
              Plaintiff,                     :
                                             :    Civil Action
       v.                                    :
                                             :    No. 19-4078
CITY OF PHILADELPHIA, ET AL.,                :
                                             :
                      Defendants.            :


                                        ORDER

       AND NOW this ________________ day of __________________ 2025, upon

consideration of Defendants City of Philadelphia and Joseph Sullivan’s Motion in

Limine, it is hereby ORDERED and DECREED that the Defendants’ motion is

GRANTED.

       IT IS FURTHER ORDERED that the Plaintiff is precluded at the trial of this

matter from introducing any evidence relating to complaints about the conditions at PAL

centers made by people other than herself.




                                                  BY THE COURT:




                                                  J. Surrick
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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA


EVELYN CINTRON,                             :
                                            :
                      Plaintiff,            :
                                            :      Civil Action
       v.                                   :
                                            :      No. 19-4078
CITY OF PHILADELPHIA, ET AL.,               :
                                            :
                      Defendants.           :


         DEFENDANTS’ MOTION IN LIMINE TO EXCLUDE
 EVIDENCE OF COMPLAINTS ABOUT PAL CENTER CONDITIONS MADE
                        BY OTHERS

       Defendants the City of Philadelphia and Joseph Sullivan move this Honorable

Court for the entry of an order precluding the introduction of any evidence referring or

relating to complaints about PAL centers that have been made by people other than

herself. In support of its motion, Defendant incorporates by reference their Memorandum

of Law filed contemporaneously herewith.



                                                   Respectfully submitted,

Date: April 7, 2025                                /s/ Sharon E. Ulak
                                                   Sharon E. Ulak
                                                   Divisional Deputy City Solicitor
                                                   City of Philadelphia Law Dept.
                                                   Labor & Employment Unit
                                                   1515 Arch Street, 15th Floor
                                                   Philadelphia, PA 19102-1595
                                                   215-683-5083




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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA


EVELYN CINTRON,                               :
                                              :
                       Plaintiff,             :
                                              :       Civil Action
        v.                                    :
                                              :       No. 19-4078
CITY OF PHILADELPHIA, ET AL.,                 :
                                              :
                       Defendants.            :


I.      INTRODUCTION

        City Defendants move this Court for the entry of an order precluding the

introduction and/or admission of evidence relating to complaints about PAL centers made

by persons other than Plaintiff herself for the reasons stated below:

II.     FACTS

        Plaintiff’s claims in this matter are for Title VII discrimination and retaliation, a

violation of the Equal Protection Clause, as well as retaliation under the First and

Fourteenth Amendments. Plaintiff has not alleged violations of the Pennsylvania

Whistleblower statute, did not seek to amend her complaint to include it or mention it in

her opposition to the motions for summary judgment.

        At Plaintiff’s deposition, she testified that others had made complaints about the

conditions at PAL centers. She specifically testified that she was aware of prior issues at

the Wissinoming PAL Center and that the person who made those claims had filed a

lawsuit against the City. See Cintron Dep. 1, 10/28/2022, at 81:8-19, attached hereto as

Exhibit 1.




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         Plaintiff also sought deposition testimony from a City representative about the

City’s policies and procedures for “whistleblowers.” See 30(b)(6) Deposition Notice

Addressed to the City of Philadelphia, attached hereto as Exhibit 2. However, Plaintiff

asked no questions about the City’s whistleblower procedures at the deposition of the

City’s 30(b)(6) witness. See Righter Dep., 11/15/2024, attached hereto as Exhibit 3.

III.     ARGUMENT

         A.     Evidence Regarding Other Complaints and Lawsuits Concerning
                PAL Center Conditions Is Relevant to the Issues at Trial

         Complaints that other people may have made about the conditions at PAL centers

are irrelevant to a determination as to whether the City discriminated against her because

of her sex or race, nor is it relevant to determining if the City retaliated against her for

complaining about the alleged discrimination.

         Under the Federal Rules of Evidence, litigants are prohibited from introducing

evidence that is not relevant in the matter being litigated. Specifically, Fed. R. Evid. 401

provides as follows:

                Relevant evidence means evidence having any tendency
                to make the existence of a fact of consequence to the
                determination of the action more probable or less
                probable than it would be without the evidence.

Accordingly, evidence is relevant only if it has any tendency to establish a proposition or

fact that is material to the lawsuit. Under Rule 401, testimony which fails to prove or

disprove any material fact at issue is irrelevant. Brancha v. Raymark Indus., 972 F.2d

507, 514 (3d Cir. 1992). Under Rule 402, irrelevant evidence is inadmissible. Fed. R.

Evid. 402. This is not a trial concerning the history of issues at the Wissinoming PAL

Center, nor is it a trial to determine whether Plaintiff was a whistleblower who




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experienced retaliation after making complaints. Furthermore, this matter does not

concern whether the City or PAL were aware of complaints or issues at PAL Centers.

Therefore, this evidence is irrelevant and should be excluded at trial.


        B.      Permitting Plaintiff to Introduce This Evidence at Trial will
                      Substantially Prejudice Defendants

        Pursuant to Federal Rule of Evidence 403 “relevant evidence may be excluded if

its probative value is substantially outweighed by the danger of unfair prejudice,

confusion of the issues, or misleading the jury…” “Unfair prejudice is that which could

lead the jury to make an emotional or irrational decision, or to use the evidence in a

manner not permitted by the rules of evidence.” Comment to Fed.R.Evid. 403. The type

of inquiry under Rule 403 is fact-intensive and context-specific. Sprint v. Mendelsohn,

522 U.S. 379 (2008).

        If Plaintiff were permitted to testify that other people had also complained about

conditions at PAL centers, one of whom filed a lawsuit, a jury may be inclined to find

liability against the City simply because other people had complained about these centers.

A lawsuit filed by another person and evidence that others had made complaints about the

conditions at PAL centers is irrelevant to Plaintiff’s claims and only serves to prejudice

the City and Joseph Sullivan. Therefore, the presentation of this type of evidence should

be precluded.

IV.     CONCLUSION

        Because evidence related to complaints made by other people is not relevant to

the ultimate issue in the case, its presentation would substantially prejudice the jury.

Therefore, Plaintiff should be precluded from introducing this evidence at trial.




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                                          Respectfully submitted,

Date: April 7, 2025                       /s/ Sharon E. Ulak
                                          Sharon E. Ulak
                                          Divisional Deputy City Solicitor
                                          City of Philadelphia Law Dept.
                                          Labor & Employment Unit
                                          1515 Arch Street, 15th Floor
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                             CERTIFICATE OF SERVICE

       I, Sharon E. Ulak, Attorney for Defendants, City of Philadelphia and Joseph

Sullivan, certify that on this date, I filed Defendants’ Motion in Limine to Exclude

Evidence Related to Complaints Made by Others Concerning Other PAL Centers and

served a copy of the same on counsel for all parties electronically




Date: April 7, 2025                   /s/ Sharon E. Ulak
                                      Sharon E. Ulak
                                      Divisional Deputy City Solicitor




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